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11                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN JOSE DIVISION

13
     PATRICK CALHOUN, et al., on behalf of           Case No. 5:20-cv-05146-LHK-SVK
14   themselves and all others similarly situated,
                                                     [PROPOSED] ORDER GRANTING
15          Plaintiffs,                              PLAINTIFFS’ UNOPPOSED MOTION
                                                     TO ENLARGE TIME FOR NON -
16          v.                                       PARTY SUBPOENA ON ERNST &
                                                     YOUNG TO COMPLY WITH
17   GOOGLE LLC,                                     PLAINTIFFS’ SUBPOENA

18          Defendant.

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       Case 5:20-cv-05146-LHK Document 391 Filed 11/29/21 Page 2 of 2



 1                                        [PROPOSED] ORDER
 2          Before the Court is Plaintiffs’ Unopposed Motion To Enlarge Time For Non-Party Ernst &
 3   Young LLP (E&Y) To Comply With Plaintiffs’ Subpoena. Having considered the motion and
 4   supporting papers, the Court GRANTS the Motion to extend the deadline for E&Y to comply with
 5   Plaintiffs’ subpoena to the following:
 6          1. By no later than December 7, 2021, E&Y will make an initial production of documents
 7              consisting of workpapers; and
 8          2. By no later than December 22, 2021, E&Y will produce all other documents and
 9              electronically stored information responsive to Plaintiffs’ subpoena, as modified by the
10              Court’s order.
11

12   IT IS SO ORDERED.
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14   Dated: November 29, 2021
                                                         HON. SUSAN VAN KEULEN
15
                                                         UNITED STATES MAGISTRATE JUDGE
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     [PROPOSED] ORDER RE
     SUBPOENA ON E&Y                                 1            CASE NO. 5:20-CV-05146-LHK-SVK
